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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

      COLONEL FINANCIAL MANAGEMENT )
      OFFICER, United States Marine Corps, et al., )
      for themselves and all others similarly situated, )
                                                        )
                          Plaintiffs,                   )   No. 8:22-cv-01275 SDM-TGW
      v.                                                )
                                                        )
      LLOYD AUSTIN, in his official capacity as )
      Secretary of the United States Department of )
      Defense, et al.,                                  )
                                                        )
                          Defendants.                   )

              PLAINTIFFS’ RESPONSE IN OPPOSITITION TO
       DEFENDANTS’ TIME-SENSITIVE MOTION TO STAY PROCEEDINGS

        Plaintiffs, pursuant to Local Rule 3.01(b) and the Court’s Order of December 22

  (Doc. 257), respond in opposition to Defendants’ Time-Sensitive Motion to Stay

  Proceedings (Doc. 256). As shown below, Defendants’ stay motion does not provide

  sufficient justification to avoid the trial date that the Court ordered and Defendants

  agreed, through mediation, to keep in place.1

        1. No changed circumstances justify Defendants’ abandoning their mediated

  agreement to keep the Court’s trial date in place. Two weeks before filing the

  pending “time-sensitive” stay motion (Doc. 256) on the grounds that the President




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     Given the relatively short response period, which included Christmas, and the
  Court’s scheduling of a hearing on Defendants’ stay motion for December 30 (Doc.
  259), this written response is somewhat abbreviated.
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  intended to sign the NDAA,2 which includes a provision requiring Defendant

  Secretary Austin to rescind the military vaccine mandate (Doc. 256 at 1–2),

  Defendants filed an “emergency” stay motion (Doc. 252) on the grounds that Congress

  had released an agreed draft of the NDAA containing the rescission provision (Doc.

  252 at 1). The parties mediated Defendants’ first stay motion before Magistrate Judge

  Porcelli, resulting in an agreement to move several depositions to the first two weeks

  of January but keep the current trial date of January 23 in place. (Order, Doc. 254, at

  1-2.) Although Congress passed the NDAA after the parties’ agreement, and the

  President signed the NDAA on December 23,3 the probable passage of the NDAA by

  Congress and signing by the President by the end of the year were expressly

  contemplated by the parties when they agreed to keep the trial date in place. Thus,

  there has been no change of circumstances justifying Defendants’ abandoning the

  parties’ mediated agreement so soon.

      2. Mootness is speculative and dependent on remedial commitments

  Defendants have not made. Just as Congress’s consideration of a directive to

  Defendant Secretary to rescind the vaccine mandate did not, in and of itself, moot any

  issue in the case, the President’s signing of the enacted legislation did not, in and of

  itself, moot any issue in the case. Only the actual rescission by Defendant Secretary



  2
     The James M. Inhofe National Defense Authorization Act for Fiscal Year 2023.
  3
     Jim Garamone, Biden Signs National Defense Authorization Act Into Law, DOD News
  (Dec. 23, 2022), https://www.defense.gov/News/News-Stories/Article/Article/
  3252968/biden-signs-national-defense-authorization-act-into-law/.


                                             2
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  and implementing policy by Defendant Commandant can potentially moot any issue

  in the case, and even then, mootness is not certain. More importantly, Defendants—

  the military officials seeking postponement of the trial—are the very military officials

  responsible for rescinding the vaccine mandate and implementing the rescission for

  the Marine Corps. In other words, they do not have to wait for another Executive

  Branch department or military branch to implement the NDAA, and they fail to

  explain why they cannot effect the new policy sooner than the 30-day NDAA deadline

  and sufficiently before trial to show the Court how the policy actually moots any issue

  to be tried.4 Given Defendants’ constant “readiness” refrain, it is implausible that the

  Marine Corps has no plan to effect a policy change it has expected since early

  December.

      Although this case was precipitated by the military vaccine mandate, Plaintiffs’

  First Amendment and RFRA claims are not directed at the vaccine mandate itself so

  much as the Marine Corps’ religious accommodation policy as applied to the vaccine

  mandate.5 The upcoming trial, and Plaintiffs’ completed and planned discovery to



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     Defendants’ ostensibly magnanimous argument, that “requiring Plaintiffs and
  military deponents to guess about the possible scope of their claims before the
  Secretary implements Section 525 may prejudice Plaintiffs’ ability to obtain
  information from deponents relevant to any aspect of the case that might,
  hypothetically, remain,” is entirely disconnected from this reality.
  5
     Cf. Doc. 229 at 5–6, 18 (discussing applicability of Marine Corps Order (MCO)
  1730.9, Accommodation of Religious Practices in the Marine Corps); Doc. 255 at 9–13
  (explaining Plaintiffs’ need for a Marine Corps Rule 30(b)(6) witness on the issuance
  of MCO 1730.9 one month before Defendant Secretary’s memorandum announcing
  the vaccine mandate.)


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  date, are focused on the Marine Corps’s inability to justify the religious

  accommodation policy it has already implemented and already applied to Plaintiffs

  (i.e., across-the-board denials), and the resulting adverse actions against Plaintiffs (i.e.,

  discipline, threats of discipline, and administrative obstructions for resisting orders to

  vaccinate). To be sure, “[t]he specific issue that unifies the class[—]the organized,

  purposeful, and systemic failure to resolve the requests for a religious accommodation

  in accord with the burden imposed by RFRA”—will not be resolved by rescission of

  the vaccine mandate. (Doc. 229 at 23.) True, the Court’s contemplated ultimate

  classwide relief, “an order re-committing the Marines’ applications en masse to the

  Marine Corps for a determination in accord with the ‘to the person’ requirement and

  other requirements of RFRA” (Doc. 229 at 46), might no longer apply. But that

  contemplated ultimate relief included, by necessary implication, abrogating all adverse

  disciplinary and administrative actions against Plaintiffs resulting from the flawed and

  invalidated accommodation process, and Defendants have not shown the Court that

  Plaintiffs will not need this necessarily included relief on a classwide basis.

     The NDAA says nothing about rescinding the Marine Corps’s religious

  accommodation policy, and Defendants have given the Court no indication that they

  intend to change the religious accommodation policy or how they apply the policy in

  the future. Moreover, Defendants have given the Court no indication that they intend

  to rescind all discipline and threats of discipline against Plaintiffs, and otherwise

  restore Plaintiffs in all respects to their good military standing preceding their religious




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  accommodation requests. Furthermore, the NDAA does not preclude issuance of a

  new COVID vaccine mandate at any point in the near or distant future, and

  Defendants have not disavowed taking such action.6 Thus, Defendants fall far short of

  demonstrating their “voluntary” rescission of the vaccine mandate will in any way

  moot Plaintiffs’ First Amendment and RFRA challenges to the Marine Corps’s

  religious accommodation policy.7 If Defendants intend to do more to moot Plaintiffs’

  claims, they should say so.

      3. Rescission of the vaccine mandate will not require Plaintiffs to file an

  amended complaint. Contrary to Defendants’ argument (Doc. 256 at 9), rescission of

  the vaccine mandate will not require Plaintiffs to amend their complaint. As shown

  above, even if rescission of the mandate obviates the need to remand all Plaintiffs’

  religious accommodation requests for proper consideration under RFRA, the

  rescission will not, without much more, obviate the need for classwide relief from all

  the adverse consequences of the mandate suffered by Plaintiffs to date. Evidence of



  6
      To the contrary, Defendant Secretary stands by the mandate. See Garamone, supra
  note 3 (“[Secretary] Austin argued that the mandate is necessary to protect military
  readiness, and he has been clear in his support for maintaining it. Still, Congress has
  spoken and the department will fully comply with the NDAA, officials said.”).
  7
      To prove mootness resulting from the mere rescission of the vaccine mandate,
  Defendants would have to overcome the high burden imposed by the voluntary
  cessation doctrine. See, e.g., Harrell v. The Fla. Bar, 608 F.3d 1241, 1265 (11th Cir. 2010)
  (“That burden will have been borne only if: (1) it can be said with assurance that there
  is no reasonable expectation that the alleged violation will recur, and (2) interim relief
  or events have completely and irrevocably eradicated the effects of the alleged
  violation.” (cleaned up)).



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  any new policy can be presented at trial, and the pleadings subsequently amended to

  conform to that evidence either by the parties’ consent or at the Court’s broad

  discretion. See Fed. R. Civ. P. 15(b); Borden, Inc. v. Florida E. Coast Ry. Co., 772 F.2d

  750, 757–58 (11th Cir. 1985) (“There is a strong policy embodied in the Federal Rules

  of Civil Procedure, and Rule 15 particularly, favoring the liberality of amendment.”).

  And, if any party’s evidence of a new policy requires giving another party additional

  time to meet that evidence, the Court may order a continuance for that purpose. Fed.

  R. Civ. P. 15(b)(1). Thus, Rule 15 and the Court’s inherent authority to control its

  proceedings already provide sufficient tools to deal with the eventual rescission of the

  vaccine mandate and any implementing policy change by the Marine Corps.

  Defendants have not shown the additional need for a stay now.

     4. A stay benefits only Defendants, at Plaintiffs’ expense. A stay benefits

  Defendants by delaying accountability for what Defendants have already done, on the

  thinnest of promises that some aspect of the trial may not be necessary. Conversely,

  “a stay will unduly prejudice [and] tactically disadvantage” Plaintiffs. See Garmendiz v.

  Capio Partners, LLC, No. 8:17-cv-00987-EAK-AAS, 2017 WL 3208621, at *2 (M.D.

  Fla. July 26, 2017) (cited by Defendants, Doc. 256 at 6). Plaintiffs have diligently

  pursued their claims since October 2021. (Doc. 1.) Plaintiffs have diligently pursued

  discovery on an expedited schedule (as recently amended) and are prepared to finish

  on time. (See Doc. 254; Doc. 255 at 2–7.) As shown above, Plaintiffs’ discovery and

  trial presentation are focused on what Defendants have already done to Plaintiffs, and




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  do not much depend on what Defendants will do with their vaccine mandate. This

  Court’s preliminary injunction, and recent favorable appellate decisions from other

  courts,8 give Plaintiffs optimism in the likelihood of their success at trial based on the

  evidentiary record to date. Defendants want to stop everything—not to avoid

  prejudice, but for their convenience—so they can take their time in rescinding the

  vaccine mandate and formulating an implementing policy without having to submit

  to the completion of Plaintiffs’ discovery9 and the finality of this Court’s judgment.

  But it is not inequitable to require Defendants to meet all their obligations—their trial

  obligations under this Court’s orders and their mediated agreement with Plaintiffs, and

  their NDAA obligations to rescind the vaccine mandate. Just because the NDAA gives

  Defendant Secretary 30 days to rescind the vaccine mandate does not excuse

  Defendant Secretary from doing it sooner if necessary to meet his judicial obligations.

  If knowing the details of the rescission and implementing policy prior to the trial of

  this action is necessary, Defendants should have to provide those details before the

  current trial date.




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     See Singh v. Berger, No. 22-5234, 2022 WL 17878825 (D.C. Cir. Dec. 23, 2022);
  Doster v. Kendall, 54 F.4th 398 (6th Cir. 2022).
  9
     For example, Plaintiffs’ remaining depositions include one of Defendants’ most
  important witnesses on application of the RFRA compelling interest standard to
  individual Marines’ religious accommodation requests. (See Doc. 255 at 8–15; cf. Doc.
  256 at 10 (“Here, the imminently scheduled depositions in this case include high-
  ranking military officials [including] Lieutenant General David A. Ottignon . . . .”).)


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                                   CONCLUSION

     For the foregoing reasons, the Court should deny Defendants’ stay motion.



                                              /s/ Roger K. Gannam
                                              Mathew D. Staver
                                              Horatio G. Mihet
                                              Roger K. Gannam
                                              Daniel J. Schmid*
                                              Richard L. Mast*
                                              LIBERTY COUNSEL
                                              P.O. Box 540774
                                              Orlando, FL 32854
                                              (407) 875-1776
                                              court@LC.org
                                              hmihet@lc.org
                                              rgannam@lc.org
                                              dschmid@lc.org
                                              rmast@lc.org
                                              *Admitted specially

                                              Attorneys for Plaintiffs




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